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 3                                                           C LE ~K lJ S DISTRICT COURT
                                                                    DISTRICT OF.A/NZONA
 4                                                         B~                  VCJ"- DEPUTY
 5
 6                        IN THE UNITED STATES DISTRICT COURT

 7                              FOR THE DISTRICT OF ARIZONA

 8                                                       CR-18-1305-PHX-GMS (JZB)
     United States of America,                   N 0.
 9
                                                             INDICTMENT
10                         Plaintiff,
                                                 VIO:    18 U.S.C. § 1343
11             vs.                                       (Wire Fraud)
                                                         Counts 1-19
12   Thomas William Hancock,
                                                         18 U.S.C. § 1957(a)
13                        Defendant.                     (Transactional Money Laundering)
                                                         Counts 20-36
14
                                                         18 U .S.C. §§ 981(a)(l)(A), (C) and
15                                                       28 U .S.C. § 2461(c)
                                                         (Forfeiture Allegations)
16
17
     THE GRAND JURY CHARGES:
18
     At all times material to this indictment:
19
                                          INTRODUCTION
20
     1. Thomas William Hancock ("HANCOCK"), age 27, is a resident of Scottsdale, Arizona.
21
     London Trust Media, Inc. is an internet privacy and security company located in Denver,
22
     Colorado. In November 2017, LTM hired HANCOCK as Chief Technology Officer. In
23
     December 2017, HANCOCK was promoted to Executive Chairman. His employment was
24
     terminated in March 2018.
25
                                        RELEVANT ENTITIES
26
     2. London Trust Media, Inc. "LTM" is an internet privacy and security company located
27
     in Denver, Colorado founded by A.L. L TM began a sponsorship agreement with Digital
28
     Chaos ("DC"), a company hosting online sports gaming, for the purpose of advertising on
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     1    DC online gaming sites. The monthly sponsorship agreement was for $15,000 per month
 2        for the period of August 2016 - August 2017~ HANCOCK was an employee of DC during
 3        the sponsorship.
 4        3 . DC was originally a subsidiary of UK.2 Group and in May 2017, UK2 Group was sold
 5        to a11: online retailer, The Hut Group. DC became a separate entity. HANCOCK registered
 6        the separate entity of DC as an LLC in Utah and listed himself, S.A., and G.C. as corporate
 7        officers.
 8        4.   Hos~ing   Services ("HS") is an inteniet company that provides Web hosting services to
 9        individuals and small businesses. HS provides data center options in various locations
10        across the United Kingdom and the United States. The company was founded in 2003 and
11       is based in Providence, Utah.
12       5. Freshbooks is an online accounting and invoicing company headquarted in Canada that
13       provides small business owners with the ability to quickly create and send invoices as well
14       as receive notifications when invoices are paid.
15                                         SCHEME TO DEFRAUD
16       6. In November 2017, LTM hired HANCOCK as Chief Technology Officer. In December
17       2017, HANCOCK was promoted to Executive Chairman. HANCOCK, could work from
18       home and spent a considerable amount of time_ in Scottsdale, Arizona as UK2 Group had a_
19       large server "farm" located in Arizona and LTM continued to have a business relationship
20       with UK2 Group.
21       7. While at LTM, HANCOCK prepared fraudulent invoices in Freshbooks software for the
22       vendors DC       ~nd   HS. HANCOCK created an account with Freshbooks under the email
23       address Tomhancock@gmail.com.
24       8. HANCOCK logged into his online account at the Canadian based freshbooks.com and
25       created fraudulent invoices for vendors DC and HS. HANCOCK created and sent the
26       .fraudulent invoices from various locations within the United States, including Scottsdale,
27       AZ and Las Vegas, NV. Freshbooks' servers are located in Illinois, Virginia and Toronto,
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     1    Canada.
  2       9. The information regarding the fraudulent invoices was emailed from Freshbooks to Las
  3       Vegas, NV-based LTM. The accounts payable department of LTM, located in Denver,
  4       CO, would access the invoices created by.HANCOCK by clicking the Freshbooks link,
  5.      located within the body of the ·email. Once the invoice was received, L TM. paid the
  6       invoices via online access with the LTM company credit card issued by Compass Bank.
  7       The fraudulent invoices for DC and HS that were submitted to LTM for processing are
  8       detailedin Counts 1-19 below.
  9                                                COUNTS 1-19
                                                    Wire Fraud
10                                         (Violation of 18 U.S.C. § 1343)
11        10. Paragraphs 1-9 of this Indictment are re-alleged and incorporated by reference as
12        though fully set forth herein.
13        11. From on or about November 1, 2017, the exact date being unknown to the Gr?-nd Jury,
14       · through on or about May 30, 2018, in the District of Arizona and elsewhere, defendant
15        HANCOCK devised and intended to devise a scheme and artifice to defraud, and to obtain
16        money and property belonging to LTM by means of materially false and fraudulent
17        pretenses, representations, promises, and material omissions, knowing that the pretenses,
18 °      representations, promises and material omissions were false·and fraudulent when made.
19                           PURPOSE OF THE SCHEME AND ARTIFICE
20       ·12. It was the purpose of the scheme and artifice that HANCOCK would divert monies
21       belonging to LTM through false pretenses, representations, promises, and material
22       omissions, all in order to obtain substantial economic benefits for himself through the
23 ·     unauthorized diversion, misuse, and misappropriation of L TM' s funds.
24                                               USE OF WIRES
25       13. On or about the dates specified a:s to each count below, defendant HANCOCK, for the
26       purpose of executing the aforesaid scheme and artifice, did knowingly transmit and cause
27       to be transmitted, by means of wire comr_nunications in interstate and foreign commerce,
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     1   certain writings, signs, signals, pictures and sounds, as more particularly described below.
 2
 3                       · Date Sent by      Invoice

 4           Counts           Wire          Number          Payee            Amount

 5               1       02/01/2018            29            HS             $54,923.54

 6               2       02/01/2018            29            DC             $15,000.00
                                                       C·




 7               3       03/01/2018            48            DC            . $48,000.00

 8               4       04/01/2018            47            HS             $63,000.00

 9               5       04/01/2018            47            DC             $15,000.00
                                                                    '

10               6       04113/2018            52            HS             $85,500.00
11               7       04/17/2018            53            HS             $53,458.00
                                                                                 >


12               8       04/18/2018            54            HS             $24,850.00
13               9       04/23/2018            59            HS             $17,320.22
14              10       04/24/2018            60            HS             $69,122.00
15              11       04/24/2018            61            HS            . $30,541.50
16              12       04/30/2018            62            HS              $7,832.11
17              13.    . 05/01/2018            64            HS            $199,195.00
18              14       05/01/2018            61            HS             $52,000.00
19            . 15      05/01/2018             61            DC             $30,000.00
20              16      05/09/2018             67            HS             $63,200.00
21              17      05/16/2018             69            HS             $52,100.00
22              18      05/22/2018             70           . HS            $28,200.00
23              19      05/30/2018             72            HS              $8,520.25
24            In violation of 18 U.S.C. § 1343.
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 1                                        COUNTS 20-36
                                 Tr.ansactional Money Laundering
 2                               (Violation. of 18 U.S.C. § 1957(a))
 3   14. Paragraphs 1-13 of this Indictment are re-alleged and incorporated by reference as

 4   though fully set forth herein.

 5   15. On or about the dates specified below, each instance being a separate count of this
 6   Indictment, in the District of Arizona and elsewhere, Defendant HANCOCK knowingly

 7   engaged in monetary transactions by, through or to financial institutions, namely Compass

 8   Bank and other financial institutions under HANCOCK' s control, . affecting interstate

 9   commerce, in criminally derived property that was of a value greater than $10,000, such

10   property having been derived from specified unlawful activity, namely Wire Fraud.

11

12                   Date                                                Payment
13                 Invoice       Invoice                               Transaction
14    Counts         Sent      . Number     Payee       Amount             Date        Card
15       20      02/01/2018           29      HS       $54,923.54      02/02/2018    RJx8663
16       21      02/01/2018           29     DC        $15,000.00      02/02/2018    RJx8663
17       22      03/01/2018           48     DC        $48,000.00      03/02/2018    RJ x8663
18       23      04/01/2018           47     HS        $63,000.00      04/03/2018    RJ x8663
19       24      04/01/2018           47     DC        $15,000.00      04/03/2018    RJ x8663
10       25      04/13/2018           52     HS        $85~500.00      04/13/2018    RJx8663
21       26      04/17/2018           53     HS        $53,458.00      04/17/2018    RJx8663
22       27      04/18/2018           54     HS        $24,850.00      04/18/2018    RJ x8663
23       28      04/23/2018           59     HS        $17,320.22      04/23/2018    RJ x8663
24      . 29     04/24/2018           60     HS       $69,122.00       04/24/2018    RJx8663
25       30      04/24/2018           61     HS       $30,541.50       04/24/2018    RJ x8663
26       31      05/01/2018           64     HS      $199,195.00       05/01/2018    RJx8663
27     . 32      05/01/2018           61     HS       $52,000.00       05/02/2018    RJ x8663
28
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 1           33     05/01/2018       61         DC        $30,000.00      05/02/2018      RJ x8663
 2           34     05/09/2018       67          HS       $63,200.00      05/10/2018      RJ x8663
 3           35     05/16/2018       69         HS        $52,100.00      05/16/2018      RJ x8663
 4           36     05/22/2018       70         HS        $28,200.00      05/22/2018      RJ x8663
 5
 6            In violation of 18 U.S.C. § 1957(a).
 7                                FORFEITURE ALLEGATIONS
 8    16. Pursuant to 18 U.S.C. §§ 981(a)(l)(A), (C) and 28 U.S.C. § 246l(c), and as a result of
 9   committing one or more of the offenses charged in Counts 1-3 6 of this Indictment, Defendant
10   HANCOCK shall forfeit to the United States all property, real and personal, that constitutes
11   or is derived from proceeds traceable to the commission of the offenses, including a sum of
12   money equal to at least $1,308,891.42 in United States currency, representing the amount of
13   money involved in the offenses.
14   17. If any of the above-described forfeitable property, as a result of any act or omission of
15       the defendant:
16            (1)   cannot be located upon the exercise of due diligence,
17            (2)   has been transferred or sold to, or deposited with, a third party,
18            (3)   has been placed beyond the jurisdiction of the court,
19            (4)   has been substantially diminished in value, or
20            (5)   has been commingled with other property which cannot be divided
21                  without difficulty,
22   it is the intent of the United States to seek forfeiture of any other property of said defendant
23   up to the value of the above-described forfeitable property, pursuant to 21 U.S.C. § 853(p).
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 1          All in accordance with Title 18, United States Code, Sections 98l(a)(l)(B), (C) and

 2   982(a); Title 21 United States Code, Section 853; Title 28, United States Code, Section

 3   2461(c); and Rule 32.2, Federal Rules of Criminal Procedure.
 4
                                                A TRUE BILL
 5
                                                s/
 6                                              FOREPERSON OF THE GRAND JURY
                                                Date: September 26, 2018
 7
 8   ELIZABETH A. STRANGE
     First Assistant United States Attorney
 9   District of Arizona                   ·.

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